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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                               OCALA DIVISION



  Krysti Merchant,

        Plaintiff,

  v.                                      Case No. 5:23-cv-661-JSM-PRL

  Billy Woods, et al.,

        Defendants.



                           Plaintiff’s Notice of Mediation

              Plaintiff Krysti Merchant provides notice that mediation has been

 scheduled in this case for Thursday, April 10, 2025, beginning at 9:00 a.m.

 eastern time to be performed by videoconference. The mediator on this case is

 Thomas H. Bateman, III, of Messer Caparello, P.A., 2618 Centennial Place, P.O.

 Box 15579, Tallahassee, Florida 32308, Tel. (850) 201-5221.

 Dated: January 17, 2025
                                       /s/ James M. Slater
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